Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 1 of 33




         Exhibit C
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 2 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 3 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 4 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 5 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 6 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 7 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 8 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 9 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 10 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 11 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 12 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 13 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 14 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 15 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 16 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 17 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 18 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 19 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 20 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 21 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 22 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 23 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 24 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 25 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 26 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 27 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 28 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 29 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 30 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 31 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 32 of 33
Case 1:17-cr-00548-JMF Document 120-3 Filed 08/02/19 Page 33 of 33
